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The Law
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                                        REQUEST GRANTED.
                                        The Court approves the modification to Mr. Shvartsman's
July 9, 2024                            bail conditions to allow him to travel as proposed.

VIA ECF                                       7/10/2024
Honorable Lewis J. Liman
United States District Judge
Southern District of New York
500 Pearl Street, Room 701
New York, New York 10007

        Re:       United States v. Michael Shvartsman, et. al., No. 23 Cr. 307_(LJL)

Dear Judge Liman:

        On behalf of Michael Shvartsman, defendant in the above-referenced case, I write to
request that the Court modify the travel restrictions imposed on the defendant as a condition
of his bail, as indicated below. I have communicated in writing with Assistant United States
Attorney Matthew Shahabian, and Mr. Shahabian advised that the Government does not
have an objection to this application. Additionally, the supervising oUicer in the U.S.
Probation OUice, Southern District of Florida, has no objection

        My client requests to travel to Jackson Hole, Wyoming for a family trip on July 18,
2024, through July 24, 2024. We have committed to provide the U.S. Attorney’s oUice and
pretrial services detailed travel plans upon this request being approved by the Court.

       As I have noted above, AUSA Shahabian and the SDFL Probation OUice have no
objection to this application, and if the Court is inclined to grant it, we request it do so by
endorsing this letter with an endorsement above.

Very truly yours,




Grant J. Smith
Counsel to Michael Shvartsman

cc: All counsel of record via ECF



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